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                            IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

JUDICIAL WATCH, INC.,               )
425 Third Street SW, Suite 800      )
Washington, DC 20024,               )
                                    )
                    Plaintiff,      )                  Civil Action No.
                                    )
v.                                  )
                                    )
U.S. DEPARTMENT OF JUSTICE,         )
950 Pennsylvania Avenue NW          )
Washington, DC 20530,               )
                                    )
                    Defendant.      )
____________________________________)

                                               COMPLAINT

       Plaintiff Judicial Watch, Inc. brings this action against Defendant U.S. Department of Justice to

compel compliance with the Freedom of Information Act, 5 U.S.C. § 552. As grounds therefor, Plaintiff

alleges as follows:

                                      JURISDICTION AND VENUE

       1.        The Court has jurisdiction over this action pursuant to 5 U.S.C. § 552(a)(4)(B) and 28

U.S.C. § 1331.

       2.        Venue is proper in this district pursuant to 28 U.S.C. § 1391(e).

                                                 PARTIES

       3.        Plaintiff Judicial Watch, Inc. is a non-profit, educational foundation organized under the

laws of the District of Columbia and having its principal place of business at 425 Third Street, S.W.,

Suite 800, Washington, DC 20024. Plaintiff seeks to promote transparency, accountability, and integrity

in government and fidelity to the rule of law. As part of its mission, Plaintiff regularly requests records
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from federal agencies, analyzes the responses it receives, and disseminates its findings to the American

public to inform them about “what their government is up to.”

       4.      Defendant U.S. Department of Justice is an agency of the U.S. Government and is

headquartered at 950 Pennsylvania Avenue, N.W., Washington, DC 20530. Defendant has possession,

custody, and control of public records to which Plaintiff seeks access.

                                        STATEMENT OF FACTS

       5.      On May 18, 2022, Plaintiff submitted a FOIA request to the Federal Bureau of

Investigation (“FBI”), a component of Defendant, seeking access to the following public records:

               FBI EVIDENCE RESPONSE TEAM CASEBOOK
               CASE 114819
               CASE IDENTIFIER - 89B-MM-114819
               Date: 2/19/2011
               TEAM LEADER - Mario Villaplana
               LOCATION - 5740 University Heights Blvd., San Antonio, Texas –
               ERT Processing Bay
               Total Pages: 246

The request was served via the FBI’s FOIA web portal, efoia.fbi.gov.

       6.      The FBI acknowledged receipt of the request by letter dated May 25, 2022 referencing

the request as FOIPA Request No.: 1546771-000, Subject: 089B-MM-114819 (Evidence Response

Team Casebook).

       7.      As of the date of this Complaint, the FBI has failed to: (i) determine whether to comply

with the request; (ii) notify Plaintiff of any such determination or the reasons therefor; (iii) advise

Plaintiff of the right to appeal any adverse determination; or (iv) produce the requested records or

otherwise demonstrate that the requested records are exempt from production.

                                                COUNT I
                                   (Violation of FOIA, 5 U.S.C. § 552)

       8.      Plaintiff realleges paragraphs 1 through 7 as if fully stated herein.



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       9.      Defendant is in violation of FOIA.

       10.     Plaintiff is being irreparably harmed by Defendant’s violation of FOIA, and Plaintiff will

continue to be irreparably harmed unless Defendant is compelled to comply with the law.

       11.     Plaintiff has no adequate remedy at law.

       12.     To trigger FOIA’s administrative exhaustion requirement, Defendant was required to

make a final determination on Plaintiff’s request by June 24, 2022 at the latest. Because Defendant

failed to make a final determination on Plaintiff’s request within the time limits set by FOIA, Plaintiff is

deemed to have exhausted its administrative appeal remedies.

       WHEREFORE, Plaintiff respectfully requests that the Court: (1) order Defendant to conduct a

search for any and all records responsive to Plaintiff’s FOIA request and demonstrate that it employed

search methods reasonably likely to lead to the discovery of records responsive to Plaintiff’s FOIA

request; (2) order Defendant to produce, by a date certain, any and all non-exempt records responsive to

Plaintiff’s FOIA request and a Vaughn index of any responsive records withheld under claim of

exemption; (3) enjoin Defendant from continuing to withhold any and all non-exempt records

responsive to Plaintiff’s FOIA request; (4) grant Plaintiff an award of attorneys’ fees and other litigation

costs reasonably incurred in this action pursuant to 5 U.S.C. § 552(a)(4)(E); and (5) grant Plaintiff such

other relief as the Court deems just and proper.

Dated: August 18, 2022                                Respectfully submitted,

                                                      /s/ Lauren M. Burke
                                                      Lauren M. Burke
                                                      DC Bar No. 1028811
                                                      JUDICIAL WATCH, INC.
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                                                      Counsel for Plaintiff

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